         Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 1 of 7




       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 12-436V
                                    Filed: December 3, 2015

* * * * * * * * * * * * * * * *                             UNPUBLISHED
ROSE COMBS as personal representative of *
the Estate of TOMMY COMBS,               *
                                         *                  Special Master Gowen
               Petitioner,               *
                                         *                  Joint Stipulation on Damages;
v.                                       *                  Tetanus-Diphtheria-acellular
                                         *                  Pertussis; Pancreatitis.
SECRETARY OF HEALTH                      *
AND HUMAN SERVICES,                      *
                                         *
               Respondent.               *
                                         *
* * * * * * * * * * * * * * * *

Glynn W. Gilcrease, Jr., Law Office of Glynn W. Gilcrease, Jr., PC, Tempe, AZ, for petitioner.
Amy P. Kokot, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

       On July 5, 2012, decedent, Tommy Combs, (“Mr. Combs”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Mr. Combs
alleged that as a result of receiving a Tetanus-Diphtheria-acellular Pertussis (“TDaP”) vaccine on
August 5, 2009, he suffered necrotizing pancreatitis. Petition at ¶ 2, 8, filed July 5, 2012. On
October 24, 2014, Rose Combs (“petitioner”) was substituted as a petitioner representing the Estate
of Tommy Combs upon the death of Mr. Combs on May 30, 2014. Petitioner alleged that Mr.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                1
          Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 2 of 7



Combs’s death was sequela of his alleged vaccine-injury. Stipulation for Award at ¶ 4, filed Dec.
2, 2015.

        On December 2, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the TDaP vaccination caused
Mr. Combs’s alleged pancreatitis or any other injury, and denies that Mr. Combs’s death was a
sequela of his alleged vaccine-related injury. Id. at ¶ 6. Nevertheless, the parties agree to the joint
stipulation, attached hereto as Appendix A. The undersigned finds the stipulation reasonable and
adopts it as the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $425,000.00, in the form of a check payable to petitioner, Rose Combs.
       This amount represents compensation for all damages that would be available under
       42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                  2
Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 3 of 7
Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 4 of 7
Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 5 of 7
Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 6 of 7
Case 1:12-vv-00436-UNJ Document 66 Filed 12/28/15 Page 7 of 7
